                  UNITED  STATES Document:
                  Case: 25-1559  COURT OF15APPEALS
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                                                        Date THIRD   CIRCUIT
                                                                   04/08/2025

                                               No.

                                                        vs.

                                           ENTRY OF APPEARANCE

 Please     the names of all parties represented, using additional sheet(s) if necessary:



Indicate the party’s role IN THIS COURT (check only one):

        ____ Petitioner(s)            ____ Appellant(s)              ____ Intervenor(s)

        ____ Respondent(s)            ____ Appellee(s)               ____ Amicus Curiae

(Type or Print) Counse ’s Name ________________________________________________________________
                                  ____ Mr.    ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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A non-government attorney who is not currently in active status will be required to file the Attorney
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REV.
